AO 245B (WDNC Rev. 4/04) Judgment in a Criminal Case



                                                 United States District Court
                                            For The Western District of North Carolina

UNITED STATES OF AMERICA                                                           JUDGM ENT IN A CRIM INAL CASE
                                                                           (For Offenses Com m itted On or After Novem ber 1, 1987)
        V.
                                                                           Case Num ber: DNCW 107CR000028002
ANTHONY DAVID SEXTON
                                                                           USM Num ber: 21952-058
                                                                           Jason R. Hayes
                                                                           Defendant’s Attorney

THE DEFENDANT:
X    pleaded guilty to count(s) 1,2,6,10,13,14,17,18.
     Pleaded nolo contendere to count(s) which was accepted by the court.
     W as found guilty on count(s) after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                             Date Offense
 Title and Section               Nature of Offense                                           Concluded                         Counts

 18:371                          Conspiracy to com m it offenses against the U. S. or to     Decem ber, 2006                   1
                                 defraud the U. S.

 18:1344                         Bank fraud                                                  12/17/06                          2

 18:1028(a)(2)                   Knowing transfer false identification docum ent             1/3/07                            6

 18:1344; 641                    Bank fraud; em bezzlem ent                                  1/11/07                           10

 18:1363,661,2,13 & 14           Larceny and destroy or injure a conveyance; or other        1/3/07                            13,14,17,18
 NCGS56                          real or personal property; aid & abet
      The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).
      The defendant has been found not guilty on count(s) .
      Count(s) (is)(are) dism issed on the m otion of the United States.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of nam e,
residence, or m ailing address until all fines, restitution, costs and special assessm ents im posed by this judgm ent are fully paid. If
ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in the
defendant’s econom ic circum stances.




                                                                                   Date of im position of sentence: 11/27/07
                                                                                   Date:         Decem ber 7, 2007




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                                                           IM PRISONM ENT
        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of 27
Months as to each of Cts. 1,13,14,17 & 18, plus a m andatory consecutive sentence of 24 Months as to each of Cts. 2 & 6, and 24
Months as to Ct. 10, to run concurrently with Cts. 2 & 6, for a total of 75 Months. The instant offense was com m itted while
defendant was serving an undischarged term of im prisonm ent, therefore, im prisonm ent im posed in this case shall run consecutive
to the undischarged im prisonm ent im posed on felony obtain property by false pretense (06CRS0068 & 69); financial card theft
(06CRS70); m isdem eanor injury to personal property (05CRS10088 & 89); m isdem eanor assault with deadly weapon
(05CRS58543 & 44); m isdem eanor injury to real property (05CRS58545); felony assault w/deadly weapon serious injury
(05CRS58542); felony forgery/forged instrum ent (05CRS58657); m isdem eanor injury real property -3 cts. (05CRS58754-56); felony
aid/abet break/enter/larceny after break/enter (05CRS58757); m isdem eanor aid/abet injury personal property (05CRS58758 -
58763, 58776 & 77); felony break/enter m otor vehicle (05CRS58656); m isdem eanor injury personal property (05CRS58901);
m isdem eanor injury real property (05CRS58904); m isdem eanor financial card fraud (05CRS58905); N. C. Superior Court,
Buncom be Co., N. C. USSG 5G1.3(a).

X    The Court m akes the following recom m endations to the Bureau of Prisons:
      Defendant be allowed to participate in any education and vocational opportunities.

X    The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

             At        On     .
             As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


             Before 2 pm on .
             As notified by the United States Marshal.
             As notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this Judgm ent as follows:




        Defendant delivered on                                         To

At                                                     , with a certified copy of this Judgm ent.


                                                                                       United States Marshal

                                                                               By
                                                                                       Deputy Marshal




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                                                                 SUPERVISED RELEASE

        Upon release from im prisonm ent, the defendant shall be on supervised release for a term of 3 Years. This term consists
of term s of 3 Yrs. On each of Cts. 1,13,14,17,18 & 1 Year on each of Cts. 2, 6, & 10, all such term s to run concurrently..

        The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
        risk of future substance abuse.

                                                   STANDARD CONDITIONS OF SUPERVISION

        The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.      The defendant shall not commit another federal, state, or local crime.
2.      The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.      The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the
        term of supervised release on a schedule to be established by the court.
4.      The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.      The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.      The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.      The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
        report within the first five days of each month.
8.      A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
        from custody of the Bureau of Prisons.
 9.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.     The defendant shall support his or her dependents and meet other family responsibilities.
11.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
        the probation officer.
12.     The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
        controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.     The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such
        time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days
        of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
        of 18:3563(a)(5) or 18:3583(d), respectively.
15.     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.     The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
        granted permission to do so by the probation officer.
17.     The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such
        other law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be grounds
        for revocation of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be subject
        to searches pursuant to this condition.
18.     The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed by the probation officer.
19.     The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
        Court.
21.     As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
        history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.
22.     If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s economic
        circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.     If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic
        monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.     The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:




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                                                   CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


               ASSESSM ENT                                          FINE                                      RESTITUTION

                    $800.00                                         $0.00                                       $32,766.58

                                                                   FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X           The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X           The interest requirem ent is waived.

            The interest requirem ent is m odified as follows:


                                                  COURT APPOINTED COUNSEL FEES

X           The defendant shall pay court appointed counsel fees.

            The defendant shall pay $                  Towards court appointed fees.




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                                                        SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

        A               Lum p sum paym ent of $              Due im m ediately, balance due

                        Not later than           , or
                        In accordance         (C),       (D) below; or

        B    X          Paym ent to begin im m ediately (m ay be com bined with         (C),     X (D) below); or

        C               Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $             To com m ence
                          (E.g. 30 or 60 days) after the date of this judgm ent; or

        D    X          Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence
                        60 (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                        am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                        U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                        m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court costs:
        The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary
penalty paym ents are to be m ade to the United States District Court Clerk, 309 U.S. Courthouse, 100 Otis Street, Asheville, NC,
28801, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal
m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                                                       RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                  AMOUNT OF RESTITUTION ORDERED
 Carrie Dunham                                                  $500.00

 Joy Moss                                                       $633.94

 Norm a Bradley                                                 $1,618.00

 Lisa Lunsford                                                  $1,900.00

 Francis Tacy                                                   $2,885.00

 Jam ie Hall                                                    $650.00

 Paul Deim er                                                   $120.00

 Isaac Savage                                                   $11,465.00

 Robert Sipes                                                   $769.99

 Katie Koepke                                                   $606.74

 Sunny Carr                                                     $505.00

 Cornelia Furcha                                                $500.00

 Stephanie Biechler                                             $105.00

 Jim m y Dorrell                                                $188.62

 Cindy W allhausser                                             $659.00

 Adam Johnson                                                   $200.00

 Heather Dem anigold                                            $101.00

 JK Kim                                                         $596.43

 Laurie Mohrm an                                                $814.00

 Kyoko Masutani                                                 $1165.00

 Diane Cam pbell                                                $497.50

 Mary O’Shannon                                                 $993.00

 Tinker Federal Credit Union                                    $697.07

 JP Morgan Chase                                                $413.12

 Citibank                                                       $490.92

 Bank of Am erica                                               $1158.40

 Am erican Express                                              $1832.90

 Carolina Collegiate Federal Credit Union                       $527.44

X               Caseis 1:07-cr-00028-MR-WCM
        The defendant                                       DocumentLuis
                       jointly and severally liable with co-defendants 122     Filed
                                                                         Francisco   12/10/07
                                                                                   Cam             Page
                                                                                       acho (01cr28-1);    6 of 7Leal Garcia
                                                                                                        Elizabeth
(01cr28-3); Neal Jesse Joiner (01cr28-5); and Jam es Augustus W illiam s (01cr28-6) for the total am ount of restitution.

Any paym ent not in full shall be divided proportionately am ong victim s.nam ed, costs, and special assessm ents im posed by
this judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.




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